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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      MACON DIVISION

 MANDRELL PARHAM,                                    *

                       Plaintiff,                    *
 v.                                                      Case No. 5:24-CV-36-MTT
                                                     *
 CHARLES COLEMAN,
                                                     *
                   Defendant.
 ___________________________________                 *

                                          JUDGMENT

       Pursuant to this Court’s Order dated July 26, 2024, having accepted the recommendation of the

United States Magistrate Judge, in its entirety, JUDGMENT is hereby entered dismissing this action.

       This 26th day of July, 2024.

                                            David W. Bunt, Clerk


                                            s/ Erin Pettigrew, Deputy Clerk
